Case 6:05-cv-01894-GAP-KRS Document 159 Filed 02/21/07 Page 1 of 1 PageID 2790




                                UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

    FLOYD M. MINKS,

                                  Plaintiff,

    -vs-                                                     Case No. 6:05-cv-1894-Orl-31KRS

    POLARIS INDUSTRIES, INC.,

                            Defendant.
    ______________________________________

                                                 ORDER

           Upon consideration of Plaintiff’s Motion for Taxation of Costs and Prejudgment Interest

    (Doc. 148) and Plaintiff’s opposition thereto (Doc. 153), the Court concludes that prejudgment

    interest is appropriate under the facts and circumstances of this case. Accordingly, it is

           ORDERED that Plaintiff’s Motion is GRANTED, in part.1 The judgment to be entered in

    this case will include prejudgment interest from October 28, 2005 until the date of the judgment,

    at the rate of 7.5% per annum.

           DONE and ORDERED in Chambers, Orlando, Florida on February 21, 2007.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party




           1
            The Court reserves ruling on the issue of costs, until the matter has been fully briefed.
